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            Floyd’s 99 Holdings, LLC v Jude’s Barbership, Inc., et al
           U.S.D.C. Eastern District of Michigan C.A. No. 2:12-cv-14696

INDEX OF EXHIBITS

1.      Complaint - Floyd’s 99 Holdings, LLC v Jude’s Barbership, Inc., et al.

2.      Settlement Agreement Points

3.      Plaintiff’s claimed trademark

4.      Email exchanges among counsel

5.      Emails exchanges among counsel

6.      Joint Final Pretrial Order

7.      Starr v United Debt Holding, LLC, 2013 WL 4041688 (W.D. Mich. August
        8, 2013) (unpublished)

8.      In re Estate of Knopf, 2003 WL 356430 (Mich. Ct. App. February 14, 2003)
        (unpublished)

9.      Rose v. Kroger Co., 201 F.3d 441, 1999 WL 1252896 (6th Cir. 1999)

10.     Faustina v. Town Ctr., No. 311385, 2014 WL 3887191 (Mich. Ct. App.
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11.     Thies v Life Ins Co of N Am, 2013 WL 6800675 (W.D. Ky. December 20,
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12.     Michigan Reg'l Council of Carpenters v. New Century Bancorp, Inc.,
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